-"'-_':;_:_*§j`_i"Q_as_e___6-:_;.1_-.m_c_-_0690_2__-_DG_L-l\/lv\/P Document1-4 Filed 01/21/11 Pagelof43

 

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2633 F€>|iO 8?'!

…..“

!N 'E'H§ HIGH COURT OF JUSTECE

QU EEN’S BENCH §§EV£SKJN

COMMERC¥AL COUR'T

 

BETWEEN:~

PORTOH CAP!`§“AL TECHNOLOGY FUNDS {A BOGY CGRPORATE)

{2§ PORTUN CAP¥TA§_ INC.

 

Ciaimants
~and~
mem ui< Hc)l.nlw_;s Lzr.§z';£r) '
MMM
` Befendants

 

KAMENDED PART|CULARS OF CLA¥M

 

A. !NTRODUCT|ON

‘ll

At aii material times Aco§yte Biomedica limited {"Acaiyte") was a iimifed
company registered and carrying on business irl the Un§teci Kingdom. |n
particu§ar its business was in ihe development` pmduction and marketing of
various products Whose purpose was to detect a-nd!or test for certain mic:o»
organisms, especially the detection of m-etl'rici§lin resistant Stapf:y!ococcus
aureus ("MRSA“‘) on clinical nagel awab samples. Siaphyiococcu.s animus
("S. aur@us"} is a practically ubiquitous type of bacteria whiist MF€SA refefs to
strains of S. aureus that have developed enenslve) resistance £o antibiotics
S. auraus is not normally considered a major health threat, but MRSA and

related organisms are coiioquiaiiy known as ‘iSMMMM” and are a

At‘ ali materia§ times until comple£ion of the sale and purchase agreement
referred m below Acoiy£e’s eniire issued share capital was owned by various_

'sharehoiciers including the Claimants, as set out in Schedule “i fo the

DM__EU 238{!79!~1.033§23.061 §

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_.Qi$i?f,<?¢_ii§§'§i?W`iii.'iin..ii'lQ-.il§z&liii.$&th..>r_\inci.u§:ing..in hc;is;riiaiswe§ldwide.,.…

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S§M;MM§S__&QL§@§M. The shareholders ct Aooiyte ere

oeii`eetieely referred to in this document ao “the Venciors". Tne»-i§ireteeee
Swee C§ein'rente were between them owners of the issued shares in Aceiyte
indicated in oeiemn 2 of SPA Scheriele 'i, end as indicated in eolumne 3 and
4 of Saict Sctieduie Were to receive MM% et the initial oonei€ieretion
and 4%=.’43§;9_£% of the edditionai consideration consisting of the Eero Out
Pe;rrnent to be paid in ZG'lG.

 

 

3. At eli material times the Seeonoi Defen€ient …eey~{-§tril} wee e

 

Deieware Corporation which was the no§ding end!or principet company in a
melti~oatiortal group §“the 3m Gro.u;g”§ whose headquarters were in St` iban
in Minnesote, USA. Tne BM Groop carried on business woriotwicie end in a
number of different Hetoe of activity and in particular had a g¥obai medioei
division which sought to sell certain medical products into the health sector
worldwide Retereneee in this statement of case to ‘_‘BMf irrciude, uniess the
context otherwise ii.~lc:i§orrlteeE to the Sec:ond Defendent BIvt‘s Meciicai D§\ris§on
end to companies in the EM Grouo (inoluciinq the First Detendanti.

 

4. At ali material times the First Defendant wee e subsidiary of the Sec:ond
Detendent§hli end were incorporated in the Linitecl Kingciom.

5. By en agreement in Wri.t§r:g dated 14 Februery 200? {“the SE=*A”) the Vendore
agreed to salt to the Firet Defendant the ehares in Acoiyte orr the terms end

 

conditions eet out therein in particular the SPA provided ee follews,

“2.‘! Upon end subject to terms of this Agreemeni, each Veno'or
hereby agrees to sel'i end Purcheser agrees to purchase the
shares set out opposite that Veodor’s name in column (2} of
Soheduie ii of this Agreemeof free from eli Enoumbreoees

3.?‘ "l“ire Coner'dererioo is roe aggregate of :
(e) £10,400,900 in cash (rhe "irritiai Gonsr`deref)`on”); and

(b) terry payments to be made pursuant to clause 4 (Eern~ Or.rt
Peyrnente}

, 4-… \EARN'¢_UTPA'YMEHTS~

 

er ne further consideration for the purchase of the Sheree
hereunden tire Puroheser shaft pay to the Veno’ore en amount
equei to ['i) iGO% ef the Eem~Out Pmoluot Net Se!es up to o
maximum amount of £41,09£?,090, rees (r‘rj tire total amount of
ali Empieyee incentive Peymenrs.

ore_§tr esmi~i.osarzs_oou

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4.2

_4.14

4`.15

DM_ME.-U 2335?91»1.983} 28.{}01!

For the purposes of ciaooo 4.1: "Net So!es” means the riot
sales amount for too Hsoof year ended Gocomoor S‘i‘, 2009
with respect soiely to format Proooots

?`rio Purooosor undertakes to too i/ondors that in the period __

from the date of this Agroomorrt to Decemhor 31 2009 {iha
'”Eam Ou€ Poooci”} toot:

{o) the .£~'am Oof Proo'uoto are activon marketed (a) in the
Unit‘ed Stotos, the Euroooao Unioo, Oooaoio, and Austrofia
(tho “Major Mod<ois‘j and {o) those countries where SM
has obtained rogoiatory approval to do so,'

(o) {to the extent mqoired,i regulatory approval is cli?igom‘ly
Sought for the Eom Out Prodooz‘s fo the Mojor Markets;

g'o) the business ooiir'og too Earo O'ot Prodoois is supported by
resources from the following functional amos Withirr too
purchasers Groop: Morkeoog, Gommunioaffons,
information Teohrroiogy, Toohnioai Servioo, Legai, Tax and
Aoooun_z‘iog to a simiior overal! degree as such resources
are mode available to other businesses Wfth:'n' SM‘o
Mooioai Divfsion;

(o') the sales representatives for the Eamouf Produor wiil oo-
compensated for the solo of five Eomouf Prodoot in the
same gonero! manner as states representatives in SM’s
Modfoo/ Divfoion aro compensated for the safe of other 3M
produo!s;

(e} as soon as roa'sonooiy prootiooi after Gompiotioo, training
moduie would be devoiopod for states roprosontatfves
soifmg too Eamouf Produc:ts Whl'oh Wfli bo commensurate
in standing roth too framing modoies for soioo
reprosontatives of other products soid by the SM’s Medicol
Div:lsr'on;

(;‘jl marketing end other training and oustomor support
motorian rrii! oe prepared to support the oates of the
Eamout Prodtrcio, wiii be kept reasonably current and witt
be of on overoii standard and quality simiior to those used
to support the safe of of!')or products wiihr`o the SM infraction
provention business uof£;

(g,i the Eom Oui Proo'uct‘s W,"!i bo solid as "SM”` branded
produoto

Exooot as exproos!y set forth in Clauso 4.14, the Vondors

to coooiuoz‘ its business in o manner that increases the amount
payao!o under this Gfaooo 4. anri i/ooo‘o.r horooy
acknowledges and agrees that the Eam»Ciuf Poymor)t is
contingent on too Compony’s future perfonnooco and is not
gooraofood. "

- -~ookoowioogo~fhof-too Pomooo’or'isorioor rio'ooflgoii’or?“or‘citity""" " ' '

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EB

?he Earn Oui Products as referred to in clause 4 of the SPA Were defined in
Sr.:l“l@<:lule 7 thereof and included BacLiff.-“r MRSA {"Bacl_i£e“) and various othezr
producis.

mine pr:>visioras or clauses 4.“14(33 to lcz) §nc§uslve. as set out above it weis
intended and aareed bv €b:e Verrdcrs and the Flr$i Berendant ihal: line acts
contemplated thereby woulr§ be uerformed bv 3m §,.e not oan lt)v the First
Defarrr£ant but wb_ere necessary or orh@rwise appropr§a€e mr line comnanies
within the 333 G_rr)u:) 33 a who¥ le (crr third parties cummcred bv lhemi. in the
gremises. by clauses 4.14{§} to {<;ll, the First Deferrdarzt undertouk thai each
of fha acts required bv clauses 4.14{3}1:0 {l:ri would be carried out bv 331 lar
by third carriers con-iracte€l blr SM`).

 

 

in reir~szcion to Bacl.iie. the obligation in cl§usee 4.14(3) acrive§v to market
Bacl_:`-t`e regarded §laken toaether with clause 445 anr;§.tl're other obliczations of

clause 4,14§ that Sl\rl:

('l) would lsubiecl- tra ubtaininq amf necessary regulatory aunroval in the

§urisdiclion in gues’rion) market Bacl.ite in a manner so as to increase fha

sales of Bacthe and the sales revenua derived iherefrorrr in the salaried to 31
December 2069 land so increase the amounts payable under clause 4.?}:

 

and/or

lZi would market E§ac£.lte w§§'l_ rha cagng and skil§ to be exoecieci or a

suggs-tent com§any{ wr;§gh Was exgeg'§nced in the worldwide marketing of

g§,§lrhcare products includinq infection prevention nroducis clem-emily §an
MR§A detection produc%s spaciricaliv and whose aim Was to increase the

 

sales of Bacl.ite and the sales revenue derived therefrom in the serio<:l to 31
Deceml:>er 2009 land $r) increase the amounts payable under clause 4.1’;:
and!or

i3`i in order to increase the sales of Bac;§-_§le and the sales revenue derived
lherefrcm lrr she period to 31 December 23le would devote a similar amount

of resource expenditure effort and expertise and would accord priority w ilwu _ ._

' marketan of BacLi té aa to the markeler of the §rociu<:ts wril*lin 3Ms llal&r.l§cal v

Dlvlslon, includan MRSA detection produuis and oliver infection prevention
pruducts. lrrespec€ive of the respective reiurns to 3m in rela¥lon to such oliver

§roduc:€s; andfor

DMMEU ZSEB?EFI~LGKSIZS.$UR l

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14) Wou§d not stem cyr lessen §§s marke§lnu §c§§v§§ies prior to 31 Deceml:)§_r
2309 because of any reduction in the current or §urecast profrtabi§i§v to 3§§§1 of
the graduet, or because §§ any sl'r<:§r§§al§ §§rz actual sales against forecasts or of
amf domwards revisionfs §rz forecasts of actual sales c;§r sales revenues £c'z the
period prior to 3§ December 2609.

BC §n relation to Baci.ite, the obligation “d§§lgentfg" to See§; §egu§a§og aggreval

 

 

was an obligation to zee§c relevant aporovals -'-"-

  

_ . . . n _1 ___ _ v § _ ....._1 W;gq the Ca-;~e
skill and Speec§ w lea g>_ggggted of an experienced and competent en§ltv
speciallslnq in the development o§ ln§ec§lor§- prevention §§nc;§uc§inq MRSA
§§§_c;ct§on} produc:_t§L and which vaaioommi&ed §o increasan gha sales of
Bac:'§.§te and §th wor§dwide sales §evenues from Bach@ in the varied to 31
D§c___ember 2009 irrespective of me current or forecast profitability to 3§\§1 of the

gmduct._

 

Further, each of the obliq§;iens in ol§uses 4.§4(2§ §o-(f-J. each being sg§clf§c
obligations serving the overall obllc§§§lons in clauses 4114{3} and {b§ diligently

to seek reuu§atorv ann§ov§§|s for. and ac§lvelv to market the Earn»{}ut

 

Products was required 10 be nerform@d in g manner that increased the '

gn;ounfs navab§e to the \fenciors lhavinu- reward to clause 4.§5) lrresnective of
§h@ current of wrecast profitab§§ltv to SM of the product

B. OVER\J!EW

Bacl.§§e is a product developed and sold by Aco§yte lr§ the European Um`on
before A<':olyle’s sale §0 Sm~fl“ze F§r§§ Defend-a-n§ to tes§. for the presence of
MRSA in c%lnlcal nasai §g; grg§Q-) swain specimens or samples Bac£_i§e
performs 'm 5 hours assays of swab samples col§ectelc§ nasai§y in clinica§

settings to prod u<:e a pos§t§ve or negative §esu§t for the presence of MRSA.

  

 
 
 

M BM launched US MCE§Q§QAL ¥F+Q§SSMW Bacl‘.§§s
in a manner which U§ gg§ g§§§g_n§ § §Q§ g§§§§_§§ ‘ ‘ . - `,

DM_EU 233{}??€~!.083§28.[§01 l

, AS ax iamed beto-W in 7 _ 7

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L§)_ D§spite a report co~authored by eleven 3lv§ §eclmica§ staff thc§'\
recommended that future §riais could be undertaken with bader
§esu§ts' us§ng a proper comparaior that they predicted US- regulators
wou§c§ appr<>ve, 3m deemed E§acL§ie unreliab§e and decide

 

D`M__EU 2330?91-1.983 § 28.00! §

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10.

11.

...'¥_2`,

 

A§oMgg§c£ooc:tivc technical reauits in the largo majority cf

its customer trial s=,j_; soo faiieci to cowen them into solcs, despite
SM’s own market data identifying high mama-t interest in Bact.ite in
major markets especially tito 113 and other markets.

 

    
  

Furtiie:' 3lvl ignored » .¢¢* -a '

..”...,:__,__Ml.,__‘. ..,......».r.......__ t *;M,".,_., _,_ ' ..

publications showing that Bact.ltc MMP&MMM£@U

Mto mate commercially iucrative ~:M_g§~n@
M_ig__g technology m defeating newly emerging strains cf NERSA

 

Fcr oxomclc, it hac been Shcwn by Malhotra-Kumar et oi. in tile Scptombor
2068 issue of qumaf of Cffoica! Mi'crooiology MS‘\ 8 't -31 82) that “the
BacLitc assay cieaniy sidestcps tile problems faced by DNA sequencc~based
detection methods due ic the tremendous sequence variations observed in
too SCCmec cassette {2}, resulting in improssivc sensitivity that should
withstand tile constant emergence of novel SCCmeo variants. in conclusion
the new 3m Bacl_ite mccoy is a practicing assay that combines the
advantages of culture with the rapidity cf mciecuiar method-based dotccticn."
`l“here the authors retracted an caflicr comment that Bacl.itc might not detect
certain N'§RSA strains by noting that changes made ira the assay in Foi§z'oary
20{}? ibeforc the cole ct Aociyte) resolves that isome, and further reported that
they had “alsc validated the new Baci.ite assay” With respect to 52 wcil~
characterized strains cf NEFESA_

61, t277~1280, reported in March 2088 a study whose aim Was to assess the
reliability of thc Bac£_ite assay "to Succeosfuily detect MRSA strains circulating
currently itt Germarl‘,r and other paris cf Europo on the basic of several wel!»
citaracterizeci S. curious otraic cciloctiotis" lt'€??). Ti'icy‘ reported that “lm]cro

.7h

DM__EU 2339'1'91-\`083§13.€)01§

_.i‘.ii<_.ewioc .v.oii_ _l:';i£i? Moas. ct,ol'.,.. ,.ioomol. ct Aotimlcrcbl'oi \Qcomotticrc,c~yv {39138} - l - l ~ ~ ~- ‘ -- -- - ' - ‘ -

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13,

14.

15.

than 766 meihiciliin-suscepfible and meth§cil!in-resistant strains covering
>90% of aii registered Euro;:aean MRSA spa types within ihe SegNet newark
ware siudied” using Bac:L.ize. T¥zey found ibm “{a}i£ 513 MRSA streams tested
were recognized as methic:i!lin-resistant” and "[n}on-e of the 21? methiciIIEn-
susceptibie strains Were detected as positive" (’¥ 2?'?').

The scientific §§iez'ature therefore confirms thai Baci;i§e is GMM
.. . v ~ ‘ __ ‘. . a more saMwMAWsust-effectwe
… other SJ?RSA diagnostic technoiogy, such as

 
 

 

 

%he”l°h§ First Defendant through SM repud§a’:ed the SF'A on cr before 15
August QGUB- by reasons of the breaches of it referred w beiow and/or by
informing Vendors that the Eac§.ite business had on§y generated US$?.G”?
-~--mi~zz'mnarn-marEarn”®m~paymém'a§off?caf"a§:é; ana‘shét‘véhd<'si;¢;"wdmd'h¢f"""" ' "
be paid even §hat sum unless they consented by 28 August 2008 to the
immediate cessation of me Eam €f.lut:`£;»c.zsin€~)s,sF Whi|si advising further that the
F‘ir$t Def@rzc£ant Waufd £ake a§E maps m cease §he Earn Ouf business without

 

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Venciors’ consent after such date, thereby evincing err intention riot to he
bound by the SPA.

C. Q¥HE& SPEGiFlC BREACHES OF THE SPA

16‘ wreasi=ri"he Firsi Defendam breached in~aa¢§iaaia;-er~ciauses 4.14 of the
SF`>A and in particuiar imae§i~@f~»sub~paragraphs {a) andfor (l:a) andior {c)
andlor (e) andfor (i} iri ihai 3m … failed activeiy ici market the
Earrr Oui products and!or seek reguiaic>ry approval therefor diligentiy andfor
at a§i, and faiied irs carry wi tire other related obligations specified in sub~
ciauses (c),( (ea) and (f) and the Firs.t Deferrciani ia~i:-reachecf §§ ci arises 4 14
and 4. ‘EB, m th§t SM did not fake the Stegs coniemgiaied §+d~riai~§eerW-ail_ef
WSM@QMQS` m ciause 4 14 in a manner that would increase the Earn Oui
payment due to Ciairnanis as agreed in oiause ¢i. 15.

 

1?. Par£iculars of ihese breaches area set msi below under the foiiowing- broad l:'»ut
iri some instances overlapping headings.

{‘l) Regulatc>ry approvai
(2) Fai|ure to market Bacl_iie scriver m
(3) Fiailure ic support the business of selling Earn Oui Products

 

18. The particulars provided below are based on ia§ ida Claimarris‘ own

knowledge cf BacLite §M§LM 44

    

Fteguiatory Approva-i

i»§'.~ '~'Ace:’ryw"§e'wreld"r@guiatdry"disaréric':e‘ibi'Baé£ité"iii"iiié"E`Q-rd`g§éé`h"Uii`i&ii""'""" ` " ` " "

before the sale of Acolyie through UK iriais that measured §QQ_MM
M;Q;§:msensifivify amf MMMMMMMQQM
M Se'nsitivity is measured in terms of avoiding faise

negatives {i,@. where Bacl.ite indicates that there is rio MRSA when the

IJM__EU 233579£ ¢i_US$iZS.DO li

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contrni!comparator sample indicates the presence ot MRSA) and seteetiséty
§@g_§_§i;g is measured tn terms of avoiding false pcsit§ves {l.e. where the
§;lroctuct purports to show MRSA when the comparatch does not].

120. BacL.lte showed high sensitivity in the Ul< trials by`testirzg positive for MRSA
94 6% of the time Wheiz the same clinical masat Swata Sampies tested positive

for !VERSA in the comparath in the UK trials MMB

 

Z"l, 'l“he US trials M§__Uwhich WQ~HSQHWM triggqu ZU€}?
alter SMLS the First Defendant’s acquisition of Acolyte Weg@ not conducted

 

in an appropriate manner but on the contrary warsaw conducted in a manner
which was inappropriate, ~ “

‘ ~ ~ : " . Spe'cifica|ly and as
set cut belsw and as evidencedM toy the content et BM‘s own “BacLite
Technica| Repcrt” .

 

 

(1) An inappropriate comparath was used;

 

i2l M…AL§MM nol dittg@nfly£§§§t;@§t
demondored as required by protoco§.

Comparator

22. in the UK trials undertaken prior to completion of the SPA the comparator
used was MSAO>< with 7.5% t\iaCi and 4 i.:g!mt of ox§§¢citlin. lvtSA stands for
'mtzizntoi:séirltgsr aaa '“'c‘)xl" tt§n;:i§`r¢z~'"¢s<gyc§§ziii"`stité¢ii"`i;=,°` `ari"é`riiit~l§¢ti¢.

 

concentration of table salt (NaCl} in l
&QESL£@_IE_QM me QYGWH`» Gi° §L§@§;=Q§gmg §§ S aureus which is more
tolerant of salt than other bacteria M§M…

- 13 n
DM_EU 23%€\79§ ~i .GEZ‘; 23.0¥}1\

 

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23.

MM@M@MMWMMMQM;MMMM

_, ' 4 ng!rni concentration of
-~ - nmi §nitng§; inhibits the growiii
of §LB_Q,_P;LMW¢MQ_M§…§‘S. nnrnus=§nn;nain, except for tire strains that are

resistant to antibiotic (i n MRSA}. MSAO>< therefore is a growth medium inat
selecis»annnnnin for §n§i_[eg§§_§__§nn presence of MRSA` in sampies. ME{§A

 

 

§§ § §g§;ivenni;e nni;egg'ggg @§Qigs Testing ciini<:ai nasnl winn :nrnpiies n Bnct.itn

assails end in MSAO)<, wniist comparing the residing is a scinntificei ly sonnd,

accepted ann successful meinnd of testing BncLite for sensiiivity and
iii ’

 

Fc-r the US ciinicai §§Mminnis . `

 

nownver the comparath in iam used was rini MSAO)< but rather iViS-A nn its

own Without ex§yciliiri. As ii lacks antll:ilntiz: MSAH@MM

 

Wnnn ciinic:ai nielsen swann are teeieci in Baci.ite asnnys and in MSA a

 

comparison of the two ~ “ _ . _-
` ` necessariiy be minienning anciioi“

 

meaningless since the presence of any S aurens in the sarn;)ie may result fn
a §§nsitive result in MSA Whiie the Bacl..iie assay seiectn int MRSA inns

 

_;1“

DMWEU 2336?91»] .SESEZS.BOH

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g

 

H_LMMM_Mm~n';§ gn§inr §

DM_”EU 23397?§ l -»i A083 il&€i§§ f

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DM_“E.U 233679§*1.033&3.00[ l

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iii

 

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… t§i__$ig§ §§ giinig§i- §;;;§¥

 

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27,

253i

BM failed diligently to monitor Bacl.lte‘s US clinicalé;gg¥ £EESW to ensure
adherence to protocol particularly the requlrement thai the lnferna§

temperature cf the incu§)atoF be maintained at 3?°0, BM neglected to ensure

%hat all personnel monitoring the US MEL_MM were aware thai

incubator temperature f$ a critical variable when performing Bac:l_ite assays.

During the US clinical §;;M,:_QLMS the relevant incubators Were on occasions _` _o

"'"e'iihé¢‘ rmproperfy s"e? or £h`é temperatures wé:“é ethérwlse not properly or

diligenl:fy maintained car monitored each that MM;Q@:M@
r~~*!-L‘- mmi *'»*' - '~-*-.“‘ W` …

    

-13-

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j .r:n_.-,~.*...,._.;_._,.._:.._....,~ 4 z_ .-¢. l,

 

and this had an

a<$verse effect on MMMMM res ul€s..

 

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f?d 3!Vl misuch nw mm mg QHEEEE !_ v f er nu ir § `e§é
'»_’Qute£ .__` _ .. M‘"M

 

 

DM_EU 1380”!91~1,$33!28,0511 k 20 h

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DM_EU 233{¥?91-{ 1383 133.€501 3

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30,

31.

 

32. Despi€e its own experimeniai resulis showing high sanai-iiviiy for Baci.ite using
24 hour old clinical nasai swahs', SM has internally cited tile spliced swab
results to cream a misleading rationale lo abandon Basi_il:e in breach of the

  

Z`}M__EU 233679!¢1.083!23.051£

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Immedie§e impact ol’ 355 's Her¥dling of US Ciim“cel Me§s$_g_zig

 

 

34,

. leopreole’§e promp:llg or et all how roe a .1, »_

o§__§eo=§ooe

w US clinical §§ng in the fourth quarter of 2807 Wae followed by 3M
w sealing back greatly its marketing investment and related activity in

relation to Baol..l§re. Bil/i failed diligently to seek regulatory approval in

Cen-eofe, or to market Bacl_ite in Ausiralia despite apparently having the l

import licensee necessary for marketing Thue 3l\!l failed to seek or obtain the
necessary regulatory approve§e, either diligently or at ell., in any of the major
markets oeyor§cl the approvals secured by )'~\oolyte in the Eurooean Uo-io§a

" p§ior to lie sale-to Si.i-the First [}efencieoi.

Tl'ie First €ier'endent 3£¥¢ was thereby in breach of clause 4.§4{b}, il not other
clauses ae a reeuit of EN‘§ thme§l§ (e) )leiiing to conduct the US leong
§u_;;vmpro;zeriy in tile first piece end (t:») compounding the problem lay failing to

 

 

 

 

re~rurl end failing to take eteps to §ectiiy matters end time advance regulatory
approval and properly market Baohiie.

,23_

DM_EU 23${??§1~!.0{83123»0§‘; l

~...oos.ll.<lloe improved o§.

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Faiiure §;i_!£mto market Baci.f%e ae§mly

35.

36.

 

The First Defendant Sivi~was in lumber breach of ciasjse é.lé\(a} in thai §§ §§
failed to market Baci.iie {cz' indeed any of the o§her Eam Dui Producl:s)
ac’rive.~ly as the First Dafen':lan% SM unde:iook to rio mrsth 3¥§*§.

 

 

354 has suggested as a reason for its lack of marketing that there was no
significant demand for Eaci..§fe.. in fact at all material times there Was
significant markel lowest in Eacl..li“e] and there would have been even more

significant in£erest had there been proper mazl<eting.

 

DMHEU 233079 l »i.{i$$ 123.0\9{ l

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£.§l .QQQEQSQV the class of customer§ §§Fce§\; fe nurcha§§ §§§‘

 

DM_EU 2386?9!~1.083)28.(?0§1 - 25 w

 

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39. "§’he Cfa§mants wi¥| amc r€§iy on '. ' " "

    

BMMEU 23¥6?9§~§.333!23.001] “ 26 -

 

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QQA

4{}.

 

among healthcare providers for rapid mfcrobio§og-ica§ §es;ts to assist pat§erz§
care anc§ disease control.

As L§_W,apparent from the above Bac!_ite's par’c§cular strength was in the
significant market for products which produced a same day response but
which were chaa'pér and better §§ detecting variants than the '1 hour response

 

_27-

DM__EU 238079§-§.983§23.0011

 

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DM__EU 2335?9§-!¢083§28.5§)11 h 28 -

 

 

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DM‘__EU 238019|~§.0$3123.00'[1

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»4§. As indicated abcve, 3§§¢§ has cited the baited §JS citn§cai wiais§ggg as a
rationale for failing to progress any effective marketing Sl\tl appears to have
failed to undertake marketing of any slgn§§ican§ Sort in any market except
t.=.t.trcn:r§sl the l\ttidcl§e East and A§r§ca {"ERA'EA") and thus failed to market
actively in three of the four specified Major Mar§cets. Even this marketing
within the EMEA was not active within the meaning et clause 4.14{3}. Ctause
4.15 makes ciear that although the F°irst §“.`§efendant%§ c§§c§ not undertake to
perform alt ct its undertakings in the SPA in a manner that woutd increase
payment tc Venctnrs, the First Deten§éant SM did undertake to perform its
undertakings in clause 4, 14, §nctuc§ing the undertaking §n subclause 4.14{3}, in
a manner that §ncr@a$es payment to Venc§c)rs.

42. Further:
{t} Certai'n marketing activity was inappropriate; for example, targeting
markets in the wetheriands where the use of throat swabs was
.,_WPH*SQW r._r“=?’§_>r r>r&:_fef§td_§ttn§§rs__\Sr¢.§ii¢\_r§§tt§§,irr=,i_*f‘s§.l§§§§i,, _
swa§z~;~:.
§2) in the EMEA it appeara that M§§;g:e§g§g§ra|ative§y small hospitals

or heath wires WMMMLMMQ;§M
iQw fgt_§§§§_i;ai§tl~$i;§*§§li§a§l,it§,,m wherea$ the primary ma§l<et for

qgg,

DM~FEU 2380791-!,€183|23.9{¥§ t

 

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Baot.ite is in large hospitals with a large potentiat votume of

samptaa ar swaine in need of tasting-§MM
MQ_Q;W~__M

¢t'2A. Further or attarnativaiv. in makino ita ci-eoisiona` as to whether ano__ to ty§t_a;

extent Bacthe Woaid be marketed by SM, 3l\at took into account tagoga whicn,
by ctausaa 4.€4 eng 4‘15. the Firat Datanctant tract undertaken would not
affect the active marketing of ani.,ita. |n r;§rt§t:atari §l‘vt dagtdag to stog

marketino Bact.ita because ita marti of tita- monthly ioaoes which it Wa§
incurring as a result ot the co§“t§ of ci'evelonino and marketino Baot_ita. Aa
otaactacl in naraarar)tt 663£3} §bova. the obtiaatton §oa’voiy to market was not
guaitfied tag reference to the current or forecast grotitabiiitg of the product nor
by tha aatuai versus foracaatari salas of the graduot,

423

 

Firat Dat@nolant roiie§gg
gsa;_tj§£ot_§§ on iattara from 3M dated 14 éul\; 2068 ana 31 Cotatiot EBDB, in
both ot which BM cited the monthlv tosses aliagacttg incurred by SNE in reagent
of Acotvta toth variation at USLT)§UGK and USIZJBGOK) aa ana of the reason§ for
§_tl.i_§_a_§i<ino the Firat Dafanciant’s consent to tha cessation of tha business of
devaiogmant and marketing of the Earn 0§§ Product§. it is to ha inferred that
soon allotted tossas ware a substantial factor in ZM‘a earlier decaton
to_ cease aat+¢awmart<atincz of ina Earn Out Prodwcta

  

426 ito-riner or aitarnativalv, 3m did not activatv market Baot_,§ta in that it did not
devote similar rasooirc:a1 axponditurat effort amnd axoartiaa or accord slmttar
or§oritt' to the matkatino of Bacl..lte as to the man<atino of other products
witn§n SM’a Mao§oal D%\-ria€on. tha Ctairnanta raw on the taic_:t§__anct matters
magde in paraqrapl‘ia 44 to 48 batow‘ which alao amount to broacnaa at the
oatiarai obtioatiort aativaiv to market Baol.ita contained in oiauae 4.14{’§`};

43. Ovarall'Btlii appeared to ‘g§ve no on" Bact,ite in about April 2603 at ina §ateat

 

under the SPA the Ftrst Dafandant it was obiiged to comply with ciausa 4 14

tg;t

DM_E.U 1380?9#$.{’¢33123.05§ '1

 

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fhwth 31 Decem§;)er 2909 in a manner that wou§d increase the Eam Oui
Payment due to Vendo:'s in early 2010.

Failure to support the business of se!iing Eam out Proc£ucts

44. In breach of SPA clause 414 (c) %he First Defendant fa§leof to support the
business selling the Eam Oui F‘roduc’rs With zeacuz'ces to a 3imi¥ar overall
degree as made availabie to other businesses With¥n 3§‘¢£'9 Meci§ca§ E>ivision“

  

 

 

DM___E,U 2330791-},033|23.9€§|

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Cessation by SM of the business in re§ation 10 Bact..ite and dire Earn Out
Preciucts generain

49. By a better of 15 August 2003 3m demanded the conseni of the vendors
n pursuant to ciausa 4.14{i}{i) to cea$e business in reistion to the Eam Out
Prcc§ucts, under penalty of forgoing any Eam Oui Payment §§ they did riot so
consent by 28 August 2008. By z further leiter dated 3‘§ Octc»ber 2608 354
asserted that; n

(?) C.oniinuation cf the business in reiation to the Eéi`m Out Prociucts had
no commercia§ §ustii"icaiior\, with monzhiy ios-aes to 3¥\?1- at $SOU,UOO,
iii<eiy to totai $Q,EGD,BGO by §he end of 2009;

(2} A faiiure to consent to cessation of the business wouid be a breach by

the Vendors of clause 4.“§4{i}(i), as 120 which 3m reserved their rights
(ike. tci sue for damages for breach of ciause 4.14(i)(i)};

{3} the Vendors shouid consent to cessation of the business and rely on
their dng to claim damages for breach of the SPA;

50, By their breaches of the SPA as set out above andrch by their further conduct
in sending the ietier of 15 Auguet 2608 as set out above, the Firs'r €.`)efendant
Q_LM. 3m repudiated the SPA-. Ey a letter from their myers dated 12
N€)v'ember 2(§€38', three Verzcior& inc§udirig the First Ciaimani informed 354 §_zx_n§i_
thereby informed the i-'iz‘si‘ De€endanri of their posiiion thai the F~'irst
Deieric§-antSM had already ceased to perform and repud§aied the &`»P/l.f and
ith these \!endors reserved their rights to d'a.mages, and accepted the

repudf&fwwf¢h@SPAsubreGiwdama§es , _,

51.

 

DM_“E§§ 2380?9?-!.083!23.[)£)\}

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11 DAMAGES AGAINST THE FIRST DEFENDANT

52.

 

By reason of ihs marier set out abovs, the Ciaimanis have suffered loss and
damage lied 3lv§ performed as ihs Firsi Dsfccclsnt ii undertook it would is
clot the business in reistion to the Eam Oul Prodocis would have continued
throughout 2008 and 2009. amc Eam C)u% Produot Nei S'siss through 2009
psyabie in 201-0 wouid have been st least £4& §§ million in faci iam Out
Produot Nsi Saies in 2069 Wi!i be WHMM ss s remit of 3lv'i’s decision
not to take ih_s stems which the First Deisrzciant gromised SM Wculd take
under the SPA selfi<ai=m. lily this method tile loss and damage suffered by the
Clsimsnts is their pro rata shsrs. in accordance With column (4} of Sch-edule z
cf fslic SPA, of fha Nst Ssiss W‘riioh would have been achieved (isss any credit

 

for the ic!al amount of Empioyes incentive Paymenis which wouid have been

madei-.MMM;

-34_

DM"EU ZSHGT§S~i.OSMZB.OUH

 

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134 …m§,

 

§§B.NJQ ;Heiunglt§m§.'

 

 

 
 

_ ,,5,3»_ .` ,FGF w _._z._‘widame .cz§¢.d:zw;zt,.` men .Q:@Lm,@nze~d@~nm~admiz-wm- amf '¢ap"'an"' ' " " ' " "
damages under ciause 1051 of the SPA would be app§icab§e@;,=£§,;e;g_g

MM@@ .. .
M_MM& 'l,,-__.. _*_. _. __" .___.

  

 

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E‘. fPiQUC-EM§NT OF BRE-AC'H QF CON'¥'RACT

54. The Seccm§ D§fcrrc§ant gmcur§d that the Firat Dc§cndani ceased §QQ §;-g;;g';_i`

._ active§v tc m§rket BacLifc anci§cr ceased

from around A§r"'r§ 2908 at the Faicst dii§gec§§{ §§ pursue rcg§la§c;§ eggrcva£s

{insc§§r as §§ had ever done sc} in rescect cf Bac§_ite. Thc Scccr§d. Dcfcndant

 
   

did so in thc kn-cwiedcc that the Firs§ Dcf§ndan§ was tharcbv breachinc its
cbiigaticns under clause 4,1`4 and 415 cf §he SPA*

55. Thc .Sccccc- De§ccdant is the u¥t§matc parent ccrcgan§ cf the F§rst Dcfccc§ant.
At aff material times§ the §cccnd Dcfcrrc€an£ knew cf the existence and terms

cf the SPA in cautiouch cf fha §cts which thcfhst Dcfendani undertook BM
wcuici ce:'f`crm in clauses 4.14 §nd 415 cf the SF’A

 

 

 

 

 

rr the fc§§cwinu facie and ma§ers as cv§dcnc§nc the Seccmd Dcfcndaht’s-

o

£<cc_>\,.~£@..§§c§;
{§} Thc hccc£§§.__ti_c_hs for the _SPA.- which tcc§< cwa behr/can Ac§cst

 

200§ and Fehruaz'v 2007 at first mccreede on the ba§is inst the
Seconci Dafend:an§ wcuid bc the Purchaecr. Crclv from around
Dcccm|:)@r 2006 did the shuctura cf the §§c;:c§ec screenian
g§§§;\,g§ sath tha§ the Firsi Dcfcndant became the intended
f§*§.rrci'aera~.crw `

{2`; Bcth timing the ihi§ia£ ccr§'cc§ cf ccc;c§ia-§§cns when the Seccrzci-
Dcfchc§ant wa§ the irric_ndec§ F”ur‘chcs`cr and _ §herc§_f§cr. the
cccct§§§ic-r§s were conducted for the intended Purch§$cr cv

emgtcyccs cf the Seccnd Dcfendah€ cr cf ccm§anrcs with§n fhc BM

G§ccg other than th§ F'”ir‘st Dcrehc*aht, g§m c§§_:l Cha;_|es Kumm§§h,__n
"`§gg§§§ Q§§M Mark Schrccr, _.§crd an F:r§cberc Hcr§r‘,r Chanq F§nn

r~!ra\lrc§z §..cuis Laa'nccrt, .I_amcs Zagp_a. Nan§y Lambcr§. Thc Secorsci

Defen§§nt had mcwich cf the SPA and its harms through thc

 

aforementioned ccrschs. Gn|v cna member cf SM’s team §rzvo!ved

- 35 _
ZJM__“EH 238€3?91-1.\58312&0§] 1

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56.

{4)

§n the necct§aticnc cf the SF’A( N|r. Whi§wcr“rh, was an emc§ovec cf
§he First Defecdan§.

The SPA was chuan for and cr; hawaii of the F§rs‘r €Je§ehdah_r b\r |‘v‘£r.
Charicc §<umrhe'zr-x who was, at the timer Divis§crr \!icc Pres§der§§ cr
3m Medrca§ Di\r§_s,icn, weiner a business crcuc cf the Sccohd

Dc§§nc§cht. Acc§rc¥ig§ly, the Scccnd §Dcfchdan§ had knowlcc§gc cf

the existence and terms cf the SPA thrcuqh Mr. Kummeth.

As se§ out beicw the cbl§§e§icns cf the Fir.st Dcfcnciagt under

c§cusec 4.14 and 415 cf Ehe SPA were tc he performed thwth
SM. lt is tc he inferred that §hc Seccnc§ Defendan§ was aware cf the

nature cf ihe cbfigat§cns which the Firat Defcn<iaraf had undertaken

§¥Q§t the qrcuc or which it wac cement would ccr§crm.

 

Furthcr, the correspondence W§th the Vencfcrs’ representative in
mid ic late 2085 br Whi_ch SM crcccs§§ that the business cf

dev§!c§irrg and marketing the Earn»Oc§ Prcdccts should cease was
conduc§cd by rc§resentativcs §§ ;he Seccnd De§ccdant namely Mr,
Kummc§h, Mr. lc.ccbrahd CGtcb§l Busincss ljliz~cctcrx In§ecticn
Preventicn), a`hd Maureen §~farms fAssictan§ general Ccurrs:e§. 3m
L._§§§l AHairc!. Such ccrre§gchdehce rcvc§§§d §hc Scccnd
De§endant's Krccw|cdcc E§hrouqh fha above named ccrsch$} cf the

terms of the SPA inducing ciauscs 414 and 4.15-.

 

As p!eaded. in p§;§qrach BA cbcvc, the First Dcfcrrdant undertcc§< that £hc
stegc regcircci by ciauscs 414 and 4.§5 Wcu§d he t§kcr§ bv SM. i.e. h\/ th§

m37/.

D¥VE_EU 238079\ »§.5&3 128.5911

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First Dofendant. the Seoond Defendani and companies Within the 3¥\:‘§ Grouo
M_whoio.

57. The monrke€§no of fha Eazn-Gut Prociuots finoiodirro Bacl_ito) and the

` devoioomoni of the Eam»Go$ Produots, including the porsu§i of reouia€o'rv
agprovais outside timer in reogooi of BaoLite¢ WMQ§ directed and oontroi§ed
bv the Sooond f.`l`#o:°on<;ior“itv as the ultimate oener oomoony of the BM Group_.
in oariicufaa and withooi oreiudioo ic the oeoora|itv of the foroczoincz. fha
control exercised by the Seoond Defondant over the performance of
obligations under clause 414 and 415 is evidenced by the foliowino:

(1} The statement of Ms. Harmo of 3m Legai Affa§rs in her ioif:or of 31
Ociober ROQB th§i;

“Go 13 Fobruarv 2607, 31\)1 UK entered ioto_fhe Ao¥eement to
acquire Aooivto from your oiienis, the “Vemiozs" ass defined in the

Bgreemeni. Since that time BM UK through the Wic¥or BM groug of

oomoanies {tooether referred to as 3|".4}. has worked in oood fagg
with its ob'iig§tions under the Agrooment"

b (2) The s€§i€)meots in Ms. Harms' §et;§r of 31 Ooiot>er 2008 to the
effect that the dooisiogs made as to the extent of marke§ing and
geveio-§mem of the §am-Out P:“oduots and as to the cessation of
such activities woie made by the 3m Grogg as a whoio and wore
igaseci on the interests of the 3m Groug as a whoio.

(3} The description in Ms. Harmo’ letter dowd 31 Ootooer 2008 of the
obiioa‘iioos under o%.auso 4.14£3) and {b`§ as beino “3%\5'$ ob§g_§;iono"
oo£wiiho§andino thai oniv the First Do§endant had undor;z_z,i,<_§"r;
oomraotuai§\; that they wouio be oezformed. won description was

 

 

an aoi<nowledoment that it was SM who wooid be oorforminca the

obligations in oiouso 4,14§31 and {i:)§ and that it wooid- be for the

oootroliino entiiv of Si’v‘i, nameiv ihe Seoond Defenciarit. fo procure

 

(°* _?i?t,¢*?i".f°¥'.r? .. a?"’ w C&S‘¢‘_ F"_‘¢§"’. i"_‘e__i. 9?5‘?_"?¥".?."'€@.._‘?;@*."?? 5§?~,°’,'," ,4
Deiendani*s obii§at§ons,

 

- 33 _
DM_BU 2380?91~|.0£3122.00`{§

 

 

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Q§£K§H£Fo Q? the E;.§m~£)ot Produots ii is %o bo inf§MM

  

58‘ By Aori| 2003 at £he iatos-t, Wrong§v and in breach of ciau$o- 4.14{£)-}.5_§§ effor£s
to ob€ain a rovais ou ida E-MEA maood. Suoh cessation was rooured b

%he Soocmd Dofencfant with knowiodoe ihat' in doing so iho First Defondant

Was oeino niaoed in breach of the $PA:

 

§1) On 26 Novombor 200?’ the US triaio of Baol.ito were oo': "on hoici"
as a result of the worse results in those £;'§§£s than bng been
achieved in the U}< triaia. After No.vomber 2907. as a resuit of the

grobioms with fha US ;r£ais, effort$ io obtain regulatog{ aggravai in

Austraiia wore also ooi on hold. Subs~»oouontiv. in Maroh 2008

efforts to obtain regu£atogg agorovai in Canada wore out on hoid,

again because of the oroo£oms with too US iriois. Tho US triers
wore not subseouonfi\; restarteci and rio mother attomo€s weis

made to obtain r§goiato__rv_ aggrovai_ in Canacia or Aus?roi:`a.
{2) The attemgto to obtaig re§uiaio{g aggrovai ig the U$`>i"»xt Czanada and

Austrai.ia wore m§_cio bv the 3m Medioai Division and Wore directed

 

 

and oom{oiied inv the Seoonci Dofondant,

(3}

 

-39_

DM`___§U 2386‘?91»}.083 !-RE.DUII

 

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{4) in the premises orr darran 2598 at the latest tire Sooond
Defendant knew that in breach of clause 4.€4&)}, regulatory

acorovai- for the USA had not been diligently sought in late 2867.

Tl'ze Secood Dot'endan_t knew that unless the US trials Wero

 

prompt§v room usier an amoroor§ato comparator {i.o. MSAOX`: and

with inogbatcr temgeroturas ocncistenfiy §et and maintained at the
correct lovo§ §@ggg§; §Q§r ;§g;rfgggm§ there would be further

breaches of clause 4,'ldib}- becauer of an ongoing lack of diligenc§
with regard to desiring regulatory aggrovol ira tire USA.

(5} t~lowever. inv Aoril 2008 at the latest the Seoond E)otenciant had
decided not to pursue any clinical testino of BaoLito in the USA and
had thus abandoned aov attoth to obtain rooulof;o[y aggrova§ for
Eaci..ite in the USA.

(6) in acting as aforesaid the Second Defondant procured the breach

by the First Dofondant of clouse 4.$4&>} as a result of the failure

from Agrii 2008 at the forest diiigenfl§{ to rerun the US trials §ggr'g;
timms ' 'rr - f i and the Socond Dofendant

 

 

did co with knowledge that such breach wcutd: cccur.

59_

 

 

M§$LMMQ §§ §Q§;§g §§§§. Sucn cessation was grocurod by

the Socond Dofendgnt with imowlodoo that in doing so tire Firsl. Dofend`ani
was celer Qj_a_ced in breach cline SPA:

 

 

 

 

 

 

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{)M_WEU 23-30791-1_053l23.f)8§i

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SO.

 

 

 

 

(3} are aleaded in naraqranh 5?‘ ahcve. the Secon.d Deiendant directed
and controlled the marketina of Bacl.ite. Furiner. the Second
Defenciaat knew that the Firet De§en§,;a,nt could not unilateralig

decide to store active marketing of Bact.ita in the gremiees, the

Seccnci Defendant nrccurecl the ceasation ciamwe amwel§| §§ an g
sane -. ‘ '

 

  

 

doing se it was glaci ng the Firat Deiendant' in breach of the SPA.

'i’ha Clelmante have suffered loss and damaae aa a result cf the Seccnd

Defenda~git’s mandrel inducement of tire First Defendant's breach cf the SPA.
if the Seconal {Jefendant had not committed such a tort the US trials would

have been ra»run no later than fi_g[il 20§8, Canaciian aMmaaa regulatorg
MW§MYWUU have been obtained and, after

obtaining the necasaag aggrevais B‘acl.ite would have green activeiy

marketed in the USA\ Ganada and Auatraiie.

 

 

 

 

 

Aiae, Baci.ite wach i_~la ave been activatv mari<eted in EMEA in the neriod Anril
2098 to date Had auch devaic-nment and mart<eiinn taken place substantial

aatea revenue cf Eiacl.ite would have been nenerated in the caiendar rear

ending 31 Dacaml:)er 2€}09, amounting ic at least £;§.,;" Ml‘iig'gg Wa=¢aailiien

Acccrd':nqlv. ina Cialman€a claim dramaqu from the Secon_d Defendant in the

 

amount cf their pro rata share fin accordance with column (-rt) of Schedule t

g§_t_ne SPA§ cf such amount (iess any credit for the total amount of Em§!ogee
incentive Payrnenta which would have been enacted1

" F\LN`D the"(fia':'n"tt`§`nl:`a"¢l`alh`*i as`ag"a`i'r`i§li"ti‘\'e Fi'rai'ijj`e"lendart§i" 4 " ` '

{1} Darnagee rcr breach er contract

,¢;;t

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(2} interest to be assessed msme to s.S§A cf fha Supreme Court A<;t
398“1 ;

{3} ’Costs;

(4) Such other rel§ef as the Courf may think iii

AND j_$le Cia§mants claim as again$t Ih§ Second Defendant:

(“§) Dama€xes in tod for inducament of breach ssi croan

 

(2) interest §o fm assessed pursuan% to s.BSA of the Supreme Gourt Ac:t
.1_$_§.1;

 

(3) Costs;

(4) Such other relief as the Court may fhink fit

RJCHARD LORD QVCf

m JE=_F§=ERY omzoNS Q.c`

SA‘AD HGSSA¥N

STATE.MENT OF TRUT_H

 

The C§aimants ba£i'eve that fha facie meted in th§se Re~Amended Particu§a'rs of

 

Ciaim are true.

l am duly §uth'orised bv £he C§aimant$ w $iqn this staiamenf;.

 

Q§Fv 1‘»*!<:)53k Partner of McDermott WEB & Emerv UK LE.P

Re~Sewed ihie 733 dev cf Ju§v 291& by Mc§)ermo‘:t Wif£ & Emerv UK LLP` solic§ior§
for the Clzg_imants. of ? B$shotzsqate. bowden ECZN GAR.

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